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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                               April 2021 Grand Jury

12   UNITED STATES OF AMERICA,                No.   8:21-cr-00070-JLS
13             Plaintiff,                     I N D I C T M E N T

14             v.                             [18 U.S.C. § 1425(a): Unlawful
                                              Procurement of United States
15   MODESTUS NWABUGWU IFEMEMBI,              Citizenship; 18 U.S.C. § 1542:
      aka “Karl Nwabugwu Odike                Making a False Statement on a
16         Ifemembi,”                         Passport Application; 18 U.S.C.
          “Karlos Geoffrey Mourfy,”           § 1015(c): Use of Certificate of
17        “Karlos Mourfy,”                    Naturalization Procured by Fraud;
          “Karl M. Mourfy,”                   18 U.S.C. § 1546(a): Fraud and
18        “Karlos Geoffrey                    Misuse of an Immigration Document;
           Escoffery,” and                    18 U.S.C. § 1001(a)(2): False
19        “Nwabugwu Ifemembi,”                Statements; 18 U.S.C.
                                              § 1028A(a)(1): Aggravated Identity
20             Defendant.                     Theft]
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22        The Grand Jury charges:
23                                      COUNT ONE
24                               [18 U.S.C. § 1425(a)]
25        Beginning on a date not later than November 27, 2010, and
26   continuing until on or about May 26, 2011, in Orange and Los Angeles
27   Counties, within the Central District of California, and elsewhere,
28   defendant MODESTUS NWABUGWU IFEMEMBI, also known as “Karl Nwabugwu
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 1   Odike Ifemembi,” “Karlos Geoffrey Mourfy,” “Karlos Mourfy,” “Karl M.

 2   Mourfy,” “Karlos Geoffrey Escoffery,” and “Nwabugwu Ifemembi,”

 3   knowingly procured for himself, contrary to law, naturalization as a

 4   United States citizen, to which he was not entitled by:

 5   (1) submitting a naturalization application after defendant IFEMEMBI

 6   had previously given false testimony to gain admission to the United

 7   States and to receive an immigration benefit; and (2) making, in

 8   connection with his naturalization application, the following

 9   material false statements, each of which he knew to be false when

10   made:

11           False Statement No. 1: Defendant IFEMEMBI falsely reported that

12   he had never used any other names other than his then-current name of
13   “Karlos Geoffrey Mourfy,” when, in fact, defendant IFEMEMBI had
14   previously used the names of “Modestus Nwabugwu Ifemembi,” “Nwabugwu
15   Ifemembi,” “Karl M. Mourfy,” and “Karlos Geoffrey Escoffery.”
16           False Statement No. 2: Defendant IFEMEMBI falsely reported that
17   his date of birth was October 6, 1973, when, in fact, defendant
18   IFEMEMBI’s date of birth was not October 6, 1973.
19           False Statement No. 3: Defendant IFEMEMBI falsely reported that
20   his country of birth was Sierra Leone, when, in fact, defendant
21   IFEMEMBI’s country of birth was Nigeria.
22           False Statement No. 4: Defendant IFEMEMBI falsely reported that
23   his country of nationality was Sierra Leone, when, in fact, defendant
24   IFEMEMBI’s country of nationality was Nigeria.
25           False Statement No. 5: Defendant IFEMEMBI falsely answered “no”
26   to the question, “Have you ever committed a crime or offense for
27   which you were not arrested?”       In fact, in or around March 2000,
28   defendant IFEMEMBI committed offenses for which he was not arrested,
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 1   including use of a false, forged, counterfeited, and altered

 2   passport, in violation of 18 U.S.C. § 1543, fraudulent statement on

 3   U.S. nonimmigrant visa, in violation of 18 U.S.C. § 1546(a), and

 4   aggravated identity theft, in violation of 18 U.S.C. § 1028A, and

 5   defendant IFEMEMBI then entered the United States using a

 6   fraudulently acquired visa and an altered U.K. passport, each in the

 7   name of a false and stolen identity.

 8        False Statement No. 6: Defendant IFEMEMBI falsely answered “no”

 9   to the question, “Have you ever been arrested, cited, or detained by
10   any law enforcement officer (including USCIS or former INS and
11   military officers) for any reason?”         In fact, in or around March
12   2000, defendant IFEMEMBI had been detained by former INS officers
13   when he was caught using an altered U.K. passport in someone else’s
14   name to try to enter the United States.
15        False Statement No. 7: Defendant IFEMEMBI falsely answered “no”
16   to the question, “Have you ever been in jail or prison?”            In fact,
17   defendant IFEMEMBI was detained by U.S. immigration in jail from on
18   or about March 17, 2000, to on or about May 17, 2000.
19        False Statement No. 8: Defendant IFEMEMBI falsely answered “no”
20   to the question, “Have you ever given false or misleading information
21   to any U.S. Government official while applying for any immigration
22   benefit or to prevent deportation, exclusion or removal?”            In fact,
23   defendant IFEMEMBI had done so multiple times, including: (1) in or
24   around April 2000, by providing false and misleading information on
25   his Form I-589 application for asylum; (2) in or around May 2000, by
26   providing false testimony under oath to the Immigration Judge
27   presiding over his asylum hearing; and (3) in or around May 2001, by
28   providing false and misleading information on his Form I-485,
                                             3
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 1   “Application to Register Permanent Resident or Adjust Status.”

 2        False Statement No. 9: Defendant IFEMEMBI falsely answered “no”

 3   to the question, “Have you ever lied to any U.S. Government official
 4   to gain entry or admission into the United States?”           In fact,
 5   defendant IFEMEMBI had done so in or around March 2000 by falsely
 6   stating to INS officials that he was ““Karlos Geoffrey Escoffery” and
 7   completing and signing an immigration form, Form I-94W, in that name.
 8                            Revocation of Citizenship
 9        Notice is hereby given that upon conviction of this Count of the
10   Indictment, defendant IFEMEMBI’s naturalization shall, by Court
11   Order, be revoked, set aside, and declared void, and defendant
12   IFEMEMBI’s certificate of naturalization shall, by the same Court
13   Order, be cancelled, pursuant to Title 8, United States Code, Section
14   1451(e).
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 1                                      COUNT TWO

 2                                [18 U.S.C. § 1542]

 3        On or about May 3, 2013, in Orange County, within the Central

 4   District of California, defendant MODESTUS NWABUGWU IFEMEMBI, also

 5   known as “Karl Nwabugwu Odike Ifemembi,” “Karlos Geoffrey Mourfy,”

 6   “Karlos Mourfy,” “Karl M. Mourfy,” “Karlos Geoffrey Escoffery,” and

 7   “Nwabugwu Ifemembi,” willfully and knowingly made false statements in

 8   an application for a United States passport, with intent to induce

 9   and secure for his own use the issuance of a passport under the

10   authority of the United States, contrary to the laws regulating the

11   issuance of such passports and the rules prescribed pursuant to such

12   laws, in that, in such application, defendant IFEMEMBI stated that:

13   (1) his date of birth was October 6, 1973; (2) he was born in

14   Freetown, Sierra Leone; (3) he had only used the other name of

15   “Karlos Geoffrey Mourfy”; (4) his father’s name was “Boniface

16   Mourfy”; and (5) his mother’s name was “Susan B. Mourfy.”

17        In fact, as defendant IFEMEMBI then knew: (1) his date of birth

18   was not October 6, 1973; (2) he was born in Enugu, Nigeria; (3) he

19   had used the other names of “Modestus Nwabugwu Ifemembi,” “Karlos

20   Mourfy,” “Karl M. Mourfy,” “Karlos Geoffrey Escoffery,” and “Nwabugwu

21   Ifemembi”; (4) his father’s name was “Boniface Odike Ifemembi”; and

22   (5) his mother’s name was “Benedatte Ihuoma Ifemembi.”

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 1                                     COUNT THREE

 2                               [18 U.S.C. § 1015(c)]

 3        On or about May 12, 2018, in Orange County, within the Central

 4   District of California, and elsewhere, defendant MODESTUS NWABUGWU

 5   IFEMEMBI, also known as “Karl Nwabugwu Odike Ifemembi,” “Karlos

 6   Geoffrey Mourfy,” “Karlos Mourfy,” “Karl M. Mourfy,” “Karlos Geoffrey

 7   Escoffery,” and “Nwabugwu Ifemembi,” knowingly used a certificate of

 8   naturalization, that is, his Certificate of Naturalization dated May

 9   26, 2011, which defendant IFEMEMBI knew to be falsely made, otherwise

10   procured by fraud, and otherwise unlawfully obtained, in that

11   defendant IFEMEMBI had procured it by fraud and false evidence, and

12   otherwise unlawfully, as charged in Count One of this Indictment.

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 1                                     COUNT FOUR

 2                               [18 U.S.C. § 1546(a)]

 3        On or about February 7, 2019, in Orange County, within the

 4   Central District of California, defendant MODESTUS NWABUGWU IFEMEMBI,

 5   also known as “Karl Nwabugwu Odike Ifemembi,” “Karlos Geoffrey

 6   Mourfy,” “Karlos Mourfy,” “Karl M. Mourfy,” “Karlos Geoffrey

 7   Escoffery,” and “Nwabugwu Ifemembi,” knowingly possessed a document

 8   prescribed by statute and regulation for entry into the United

 9   States, that is, a U.S. Certificate of Naturalization in defendant

10   IFEMEMBI’s name, which defendant IFEMEMBI knew to be falsely made,

11   otherwise procured by fraud, and otherwise unlawfully obtained, in

12   that defendant IFEMEMBI had procured it unlawfully, as charged in

13   Count One of this Indictment.

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 1                                     COUNT FIVE

 2                             [18 U.S.C. § 1001(a)(2)]

 3        On or about May 12, 2018, in Orange County, within the Central

 4   District of California, in a matter within the jurisdiction of the

 5   executive branch of the Government of the United States,

 6   specifically, the United States Department of Homeland Security,

 7   United States Citizenship and Immigration Services, defendant

 8   MODESTUS NWABUGWU IFEMEMBI, also known as “Karl Nwabugwu Odike

 9   Ifemembi,” “Karlos Geoffrey Mourfy,” “Karlos Mourfy,” “Karl M.

10   Mourfy,” “Karlos Geoffrey Escoffery,” and “Nwabugwu Ifemembi,”

11   willfully and knowingly made materially false, fictitious, and

12   fraudulent statements and representations in his Electronic

13   Questionnaire for Investigations Processing, in that defendant

14   IFEMEMBI stated and represented that his date of birth was October 6,

15   1973, his place of birth was Freetown, Sierra Leone, and that he had

16   not used any name other than “Karlos Mourfy,” when, in fact, as

17   defendant IFEMEMBI then knew, his date of birth was not October 6,

18   1973, his place of birth was Enugu, Nigeria, and he had previously

19   used the names “Modestus Nwabugwu Ifemembi,” “Karl M. Mourfy,”

20   “Karlos Geoffrey Escoffery,” and “Nwabugwu Ifemembi.”

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 1                                      COUNT SIX

 2                            [18 U.S.C. §§ 1028A(a)(1)]

 3         On or about February 7, 2019, in Orange County, within the

 4   Central District of California, defendant MODESTUS NWABUGWU IFEMEMBI,

 5   also known as “Karl Nwabugwu Odike Ifemembi,” “Karlos Geoffrey

 6   Mourfy,” “Karlos Mourfy,” “Karl M. Mourfy,” “Karlos Geoffrey

 7   Escoffery,” and “Nwabugwu Ifemembi,” knowingly possessed, without

 8   lawful authority, means of identification that defendant IFEMEMBI

 9   knew belonged to another person, namely, the name and date of birth

10   of victim K.G.E., during and in relation to the offense of Fraud and

11   Misuse of an Immigration Document, a felony violation of Title 18,

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